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 6
 7   Attorney for Defendant
     RUBEN CORTEZ-ROCHA
 8
 9                          UNITED STATES DISTRICT COURT
10
                          EASTERN DISTRICT OF CALIFORNIA
11
       UNITED STATES OF AMERICA,                    Case No.: 1:18-cr-00246-DAD-BAM
12
13                         Plaintiff,
                                                          WAIVER OF DEFENDANT’S
14            vs.
                                                          PERSONAL PRESENCE;
15     RUBEN CORTEZ-ROCHA,                                ORDER THEREON
16                         Defendant.
17
18
           Pursuant to Fed. R. Crim. P. 43(b)(3), defendant, Ruben Cortez-Rocha,
19
     having been advised of his right to be present at all stages of the proceedings,
20
21
     hereby requests that this Court proceed in his absence on every occasion that the
22   Court may permit, pursuant to this Waiver.
23         Defendant agrees that his interests shall be represented at all times by the
24   presence of his attorneys of record the same as if defendant were personally
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     present, and requests that this Court allow his attorneys-in-fact to represent his
26
     interests at all times. Defendant further agrees that notice to defendant’s attorney
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     that defendant’s presence is required will be deemed notice to the defendant of the
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     requirement of his appearance at same time and place.
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           Case 1:18-cr-00246-ADA-BAM Document 47 Filed 02/04/19 Page 2 of 3



 1         This request is made because it is very difficult for defendant to make the
 2   trip from Los Angeles to Fresno because of financial reasons.
 3   DATED: January 24, 2019                       respectfully submitted,
 4
 5
                                            By:    /s/Ruben Cortez-Rocha
 6                                                 RUBEN CORTEZ-ROCHA
 7                                                 Defendant
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 9
10
11                                          By:    /s/Victor Sherman
12                                                 VICTOR SHERMAN
                                                   Attorney for Defendant
13
                                                   Ruben Cortez-Rocha
14
15
                                         ORDER
16
17         GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that
18
19
     defendant’s appearance may be waived at any and all non-substantive pretrial
20   proceedings until further order.
21
     IT IS SO ORDERED.
22
23      Dated:   February 4, 2019                     /s/ Barbara A. McAuliffe           _
24                                                UNITED STATES MAGISTRATE JUDGE
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     Case 1:18-cr-00246-ADA-BAM Document 47 Filed 02/04/19 Page 3 of 3



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